
Order affirmed. The witness directly responded with definite and unequivocal answers which were clear enough so that if *788shown to be false he would be guilty of perjury (People ex rel. Valenti v. McCloskey, 6 N Y 2d 390, 402-403; Matter of Michael, 326 U. S. 224). “We are not at liberty to say * * * that ‘ the testimony is not a bona fide effort to answer the questions at all.’ ” (People ex rel. Falk v. Sheriff of N. T. County, 258 N. Y. 437, 439; Matter of Foster v. Hastings, 263 N. Y. 311, 314; People ex rel. Valenti v. McCloskey, supra.) No opinion.
Concur: Chief Judge Desmond and Judges Froessel, Van Voorhis and Foster. Judges Dye and Burke dissent and vote to reverse the.order appealed from and to deny the motion upon the ground that the answers given by respondent represented a carefully contrived and studied effort to escape the penalties of perjury, and to thwart and obstruct the legitimate object of the commission’s inquiry without revealing any of the essential facts concerning the matter under investigation. In our view, such conduct constituted a false, evasive and flagrant defiance of lawful processes. Taking no part: Judge Fuld.
